From: "Jacobsen, Dan" <djacobsen@colpipe.com>

Sent: Tue, 17 Dec 2019 15:52:04 -0600 (CST)

To: Andrew Fleming <AFleming@klemnfelder.com>

Ce: Jeff Crisp <JCrisp@deinfelder.com>; "Jacobsen, Dan"<djacobsen@colpipe.com>
Subject: RE: Donelson - Colonial Pipeline - Klemfelder Engineering Package

Attachments: 3Donelson Scope of Work jpa and mtb.docx

 

OK, This one has Meg’s comments on top of Jim’s comments.

Thank you.
Sincerely,

Dan Jacobsen, P.E.

Relocation Project Manager
Colonial Pipeline Company

1185 Sanctuary Parkway, Suite 100
Alpharetta, GA 30009

Desk: 678-762-2284

Cell: 678-315-2826

 

From: Jacobsen, Dan <djacobsen@colpipe.com>
Sent: Tuesday, December 17, 2019 3:23 PM
To: Andrew Fleming <AFleming@kleinfelder.com>
Ce: Jeff Crisp <JCrisp@kleinfelder.com>; Jacobsen, Dan <djacobsen@colpipe.com>
Subject: RE: Donelson - Colonial Pipeline - Kleinfelder Engineering Package

Andrew,

Attached are the revisions...| have not reviewed. If you see any of the changes that are not technically correct, please advise.

Thank you.
Sincerely,

Dan Jacobsen, P.E.

Relocation Project Manager
Colonial Pipeline Company

1185 Sanctuary Parkway, Suite 100
Alpharetta, GA 30009

Desk: 678-762-2284

Cell: 678-315-2826

 

From: Andrew Fleming <AFleming@kleinfelder.com>
Sent: Tuesday, December 17, 2019 1:53 PM
To: Jacobsen, Dan <djacobsen@colpipe.com>

Ce: Jeff Crisp <JCrisp@kleinfelder.com>
Subject: [External Message] RE: Donelson - Colonial Pipeline - Kleinfelder Engineering Package

WARNING: This email originated outside of Colonial Pipeline

DO NOT CLICK links or attachments unless you recognize the sender and know the content is safe

 

Here’s the scope in MS Word

Andrew Fleming, PE
m| 470-366-0173

 

From: Andrew Fleming
Sent: Tuesday, December 17, 2019 10:15 AM
To: Jacobsen, Dan <djacobsen@coalpipe.com>
Ce: Jeff Crisp <JCriso@kleinfelder.com>

Subject: Donelson - Colonial Pipeline - Kleinfelder Engineering Package
Dan—Here’s the Engineering Package for your review.

Andrew Fleming, PE
Program Manager

5775 Glenridge Drive
Building B — Suite 585 (updated)
Atlanta, GA 30328

Case 3:20-cv-00666 Document 109-10 Filed 09/08/21 Page 1 of 6 PagelD #: 1063

KLF122974
m| 470-366-0173
d| 470-381-4231
o| 470-481-4512

(>
KLEINFELDEFR

Bright People. Right Solutions.

 

 

 

 

 

 

 

Case 3:20-cv-00666 Document 109-10 Filed 09/08/21 Page 2 of 6 PagelD #: 1064

KLF122975
SCOPE OF SERVICES

Project Background: Colonial Pipeline Company (CPC or Colonial) currently operates two
pipelines, Line 19 (12-inch) and Line 20 (8-inch), which run through the northern part of the
Nashville Airport and cross Donelson Pike in Nashville, Tennessee. The Tennessee Department of
Transportation (TDOT) is proposing a road project torelocate Donelson Pike and expand the I-40
interchange. The new location of Donelson Pike will cause the Metropolitan Nashville Airport
Authority (MNAA) to relocate some of its existing airport-support facilities such as roadways and
parking. These projects will impact both of CPC’s pipelines. Colonial is seeking full re1mbursement
of the relocation of its facilities since the airport support facilities relocation project on MNAA
airport property is being driven by the TDOT’s I-40/Donelson Pike Interchange expansion and
relocation project.

Relocation Solution: Colonial is proposing to relocate Line 19 into a parallel alignment with Line
20 north-south, and cross McCrory Creek with both Line 19 and Line 20 under Donelson Pike and
the northern parking areas of the airport utilizing an east west horizontal directional drill (HDD).
This scope will address conflicts caused by the TDOT I-40/Donelson Pike Interchange and MNAA
support facilities relocation project. The proposal will address new roadway conflicts as well as
address the line conflicts which arise from cut sections of the existing grade, resulting in insufficient
cover as per regulatory standards, and in some cases total exposure of the lines.

NOTE: Originally, Colonial was favoring the MNAA Option 3 route for the relocation, which
included approximately 1,065 linear feet of open cut pipeline relocation in addition to
HDD. However, due to TDOT’s strike on Colonial’s Line 19 in April 2019, that route is no
longer possible. The open cut section of the relocation route would have started near location
where the line strike occurred, and the line would have been routed North-Northeast, which is
directly through the area of the expected environmental contamination that resulted from the line
strike. To avoid the potential contamination area, the tie-point of the relocation section has been
moved away from the area near the line strike over to the east side of the ranway, so that the open
cut portion of the relocation can be routed around the expected contaminated area. The length of
open cut section of the pipeline relocation is now 3,825 linear feet, which is an increase of 2,760
linear feet. This additional routing around the contaminated area also includes 2 jack and bore
river crossings, I jack and bore road crossing, and 1 open cut road crossing that were not in the
original relocation route option..”

Engineering Scope: The consultant shall perform the project in four (4) phases, (A)
Preliminary Phase (Select), (B) Design Phase (Define), (C) Bid Phase (Define), and (D)
Construction Phase (Execute).

A. Preliminary Phase (Select Stage):

1. Meet with the Colonial Pipeline to discuss scope of the proposed project. Colonial Pipeline shall make
known to the Consultant any elements that might directly affect the project. Consultant will
be given any information about ongoing projects or recently completed projects that may
impact the design of the proposed project.

2. Identify any easements, fee title right-of-way, or fee title land acquisition to be involved in
the Project. Right-of-Way and land cost alternatives are to be weighed against any increased
construction cost entailed as a part of this phase.

Page | of 4
Case 3:20-cv-00666 Document 109-10 Filed 09/08/21 Page 3 of 6 PagelD #: 1065

KLF122976
3. Identify if any section of the project is within TDOT right-of-way, Railroad right-of-way,
Military right-of-way, City or County right-of-way, flood plain zones, and City/State parks.

4. Make personal contact with each of the Utility Company Coordinators operating within the proposed
project limits and request the most current records showing locations of their facilities. Consultant
shall identify particular problems and conflicts arising from such facilities affecting the project
and shall make recommendations with respect to their findings. Colomal Pipeline will assist in
obtaining data and services requested from the Utility Companies if the Consultant has not
received information in a timely manner.

5. Perform any field surveys, within the project right-of-way or easements, required to establish
existing right-of-way or easement boundaries, and, if necessary, site topography required to
collect information needed in the design of the proposed project.

6. Develop a program for the project including Schematic Layout Options and drawings in
sufficient detail to determine project feasibility. Include a plan addressing any anticipated
right-of-way needs and recommendations concerning the need for replacement and/or
adjustment for conflicts with proposed features, utilities, drainage structures, and street
designs. When sufficient data and information has been compiled and to the extent that a
recommendation can be made, prepare a deliverable to Colonial Pipeline for review and
comments.

The Preliminary Phase deliverable shall include (at a minimum) the following:
Utility conflict areas and other existing facilities

Project Limits

Relocation/accommodation options

Any other information that the Consultant deems pertinent.

7. Colonial Pipeline will review and issue comments to the Preliminary Phase deliverable.

8. Once all comments have been satisfactorily addressed, a written notice to proceed will be
issued by the Colonial Pipeline to proceed with the Design Phase (Define stage) of the project.

B. Design Phase (Define Stage):
1. Conduct preliminary investigations of the needed permits.
2. Perform geotechnical drilling as necessary to investigate the geologic conditions of the

project for trenching, horizontal drilling and jack-and-bore designs.

3. As needed, the Consultant shall attend meetings with TDOT and MNAA and as deemed
necessary meet with Colonial Pipeline officials.

4. Furnish, when necessary, data required by the Colonial Pipeline for the development for
applications or supporting documents for State or Federal Government permits, grants, and
review fees. Colonial Pipeline may ask Consultant to prepare applications and submit plans and
fees associated with obtaining permits and plan review approval from governing entities as a
supplemental service.

Page 2 of 4
Case 3:20-cv-00666 Document 109-10 Filed 09/08/21 Page 4 of 6 PagelD #: 1066

KLF122977
5. Perform field surveys and, if necessary, staking of the project at points of interest and if
necessary site topography to provide required information needed in the design of the project.

6. Prepare detailed Design Plans for project. 30%, 60% and 90% Design sheets may include:
Cover Sheet, Drawing Index, Pipeline Plans and Profiles, HDD Design and Calculations,
Construction Access, Tie-in Plans, Erosion Control Design, Traffic Control Plan, Restoration
Plans, Construction Details, and Construction Notes.

7. All Design Phase Plans shall be submitted on standard -sized design sheets.
8. Furnish Colonial Pipeline sets of Design plans for review and comments.

8. Colonial Pipeline review and issue comments to the Design Phase documents and the Consultant
to resubmit the revised Design Phase documents and address all comments.

9. Once all comments have been satisfactorily addressed, Colonial Pipeline will approve
proceeding with the Bid Phase of the project.

10. Upon receiving approval from the Colonial Pipeline, the consultant is to verify the number of
copies of plans that will be required for submittal to the Tennessee Department of
Environment and Conservation for plan and document review.

C. Bid Phase:

1. In consultation with Colonial Pipelne, Consultant will issue a set of plans and
specifications (bid documents) to be assessed by all bidders.

2. Contract documents will be prepared using Colonial Pipeline’s standard form construction
contract components. Consultant will assist Colomal Pipelime in soliciting construction bids for
the Work by facilitating the pre-bid conference, answering contractor questions, preparing an
addendum documenting the pre-bid activities and document changes or clarifications.

3. Survey staking of the proposed alignment, and right-of-way will be performed prior to the
pre-bid meeting.

4. Prepare detailed specifications, instructions to bidders, general provisions, proposal and other
documents necessary for Colonial Pipeline to distribute to potential
bidders. Detailed specifications shall be developed using the Colomal Pipeline Standard
Specifications and other necessary special specifications (City, County, TDOT, etc.).

5. Consultant will provide support services for Colonial Pipelme in procuring pipeline materials
that have a long delivery duration. Deliverable will include development and issuance of the
Bill of Materials (BOM) required for the project, and incorporation of anticipated delivery
dates. This task includes coordination with the procurement group at Colomal Pipeline for
delivery locations, timing, and requirements.

6. Develop and run the pre-bid meeting and write an agenda and meeting minutes.

7. Review the technical and commercial submittals and provide recommendations to
Colonial Pipeline, review the Bid Tabulation, and submit a written recommendation
regarding the award of the contract.

Page 3 of 4

Case 3:20-cv-00666 Document 109-10 Filed 09/08/21 Page 5 of 6 PagelD #: 1067

KLF122978
D. Construction Phase:

1. Attend a Pre-Construction meeting with the representative of the Colonial Pipeline and the
Contractor. Write meeting mimutes and submit to Colonial Pipeline for approval.

2. Provide construction staking of all pertinent features.

3. The Consultant shall provide Construction Management staff and inspectors to the project based
on requests by Colonial Pipeline. Consultant engineers and management will make visits to the site to
observe as an experienced and qualified design professional for the progress and quality of the
executed work, and to determine in general if the work is proceeding in accordance with the
plans and specifications. The Consultant shall consult with and advise Colomial Pipeline during
construction and submit reports to Colonial Pipeline relating to the site visits. However, the
Consultant shall not be required to make exhaustive or continuous on-site observations to
check the quality or techniques, sequences or procedures of construction selected by the
contractor or the safety precautions and programs incident to the work of the contractor. The
Consultant's efforts will be directed towards providing the best judgment to Colonial Pipeline
that the completed Project will conform to the plans and specifications.

4. Review estimates and recommend approval or other appropriate action on estimates or
change conditions submitted by the Contractor.

5. After completion of the work, and before final payment to the Contractor, it shall be the
Colonial Pipeline responsibility to require a set of "Record Drawings" from the Contractor, who
has control of the work and who is in a position to know how the project was constructed. The
Consultant, after receiving the information, shall transfer the mformation to Colonial Pipeline.

6. Prior to providing the final "Record Drawings" (both paper and digitally), the Consultant
shall submit a paper copy to Colonial Pipeline for review and approval.

Page 4 of 4
Case 3:20-cv-00666 Document 109-10 Filed 09/08/21 Page 6 of 6 PagelD #: 1068

KLF122979
